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                    16

                    17                               UNITED STATES DISTRICT COURT

                    18                            NORTHERN DISTRICT OF CALIFORNIA

                    19                                     SAN FRANCISCO DIVISION

                    20   MARK SCHOBINGER, on behalf of himself          Case No. 3:23-cv-03007-VC
                         and all others similarly situated,
                    21                                                 DEFENDANT’S NOTICE OF MOTION
                                              Plaintiff,               AND MOTION FOR SANCTIONS
                    22                                                 PURSUANT TO FEDERAL RULE OF
                                       vs.                             CIVIL PROCEDURE 11, 28 U.S.C. §
                    23                                                 1927, AND INHERENT POWER OF
                         TWITTER, INC. and X CORP.,                    THE COURT
                    24
                                              Defendants.               Date:        March 27, 2025
                    25                                                  Time:        10:00 a.m.
                                                                        Judge:       Hon. Vince Chhabria
                    26

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                     DEFENDANT’S MOTION FOR SANCTIONS
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                     1              TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                     2              PLEASE TAKE NOTICE that on March 27, 2025, at 10:00 a.m. or as soon thereafter as

                     3   may be heard in Courtroom 4 on the 17th Floor of the United States Courthouse, located at 450

                     4   Golden Gate Avenue, San Francisco, California 94102, Defendant X Corp. as successor in

                     5   interest to Defendant Twitter, Inc., will, and hereby does, move this Court for an order imposing

                     6   sanctions pursuant to Federal Rule of Civil Procedure (“Rule”) 11, and 28 U.S.C. Section 1927

                     7   (“Section 1927”), and the Court’s inherent power, as follows:

                     8              1.     Defendant requests that the Court order sanctions against Plaintiff and his counsel

                     9   pursuant to Rule 11, for filing and continuing to litigate Plaintiff’s frivolous Rule 23 motion for
                    10   class certification and reply brief filings, despite receiving documents that Defendant produced

                    11   during discovery on July 12, 2024 revealing that Plaintiff’s claims lack any merit. Defendant

                    12   requests an award of all attorneys’ fees and costs that it has incurred in connection with such

                    13   filings.

                    14              2.     Defendant requests that the Court order sanctions against Plaintiff’s counsel

                    15   pursuant to Section 1927 for Plaintiff’s counsel’s reckless and bad faith conduct, and

                    16   unreasonable and vexatious multiplying of this proceeding since receiving documents that

                    17   Defendant produced during discovery on July 12, 2024, revealing that Plaintiff’s claims lack any

                    18   merit. Defendant requests an award of all attorneys’ fees and costs that it has incurred since July

                    19   12, 2024, and that it continues to incur in this case going forward.
                    20              3.     Defendant requests that the Court order sanctions against Plaintiff and his counsel

                    21   pursuant to the Court’s inherent power, based on their reckless and bad faith conduct that has

                    22   undermined the integrity of this proceeding. Defendant requests an award of all attorneys’ fees

                    23   and costs that it has incurred since July 12, 2024, and that it continues to incur going forward.

                    24              4.     Defendant respectfully requests that this action be dismissed with prejudice

                    25   pursuant to Rule 11 and/or the Court’s inherent power, based on Plaintiff’s and his counsel’s bad

                    26   faith conduct that has undermined the integrity of this judicial proceeding.

                    27              Defendant’s Motion for Sanctions is based on this Notice of Motion, the Memorandum of

                    28   Points and Authorities, the Declaration of Eric Meckley, the pleadings and briefing on file with
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                     1   the Court and such arguments and admissible evidence as may be presented at the hearing.

                     2   Dated: March 14, 2025                              MORGAN, LEWIS & BOCKIUS LLP
                     3                                                      By    /s/ Eric Meckley
                                                                                 Eric Meckley
                     4                                                           Brian D. Berry
                                                                                 Jonathan D. Lotsoff
                     5                                                           Ashlee N. Cherry
                                                                                 Attorneys for Defendant X CORP.
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                     1   I.     INTRODUCTION

                     2          During the October 3, 2024 hearing on Plaintiff’s motion for class certification, the Court

                     3   asked Plaintiff’s counsel to “take a step back here and just reflect on the fact that your client has

                     4   filed a lawsuit claiming that it was a breach of contract not to pay him a bonus that he recommended

                     5   that the company not pay.” See Declaration of Eric Meckley in support of this Motion (“Meckley

                     6   Decl.”), Ex. 2 (October 3, 2024, Motion for Class Certification Hearing Transcript) (hereinafter

                     7   “Hr’g Tr.”), ECF No. 98, at 6:8-11. On July 12, 2024, Defendant X Corp. produced documents

                     8   that were no secret to Plaintiff as their author, which clearly showed him repeatedly advising

                     9   Twitter that it should not, and was not obligated to, pay the challenged bonuses.
                    10          Plaintiff disclosed none of this to the Court in his Complaint or his motion to certify a class.

                    11   During the hearing on class certification, the Court observed that “there is a question of whether

                    12   [Plaintiff] committed perjury in his deposition,” and that Plaintiff’s counsel may “have put him in

                    13   legal jeopardy.” Hr’g Tr. at 11:19-21, 12:21-25. The Court also noted that “the actual evidence”

                    14   produced in discovery was “very different from what [Plaintiff] alleged in the complaint,” and that

                    15   these facts “strongly indicate[d] that [Plaintiff] has no breach of contract claim; that he is going

                    16   to lose.” Id. at 4:14-16, 9:13-14 (emphasis added). The Court asked Plaintiff’s counsel when she

                    17   learned of these documents, including if it was before filing the lawsuit. Id. at 13:1-3. Plaintiff’s

                    18   counsel responded evasively that she could not recall “exactly when [she] saw what[.]” Id. at 13:4-

                    19   5. The Court observed that “99 percent of Plaintiffs’ lawyers […] once they saw these documents
                    20   […] would have immediately either dropped the case or scrambled to find a different Plaintiff” and

                    21   “the fact that that wasn’t done here speaks volumes.” Id. at 18:13-23 (emphasis added).

                    22          Unlike “99 percent of plaintiff’s lawyers,” Plaintiff’s counsel “doubled down” on pursuing

                    23   meritless claims on behalf of Plaintiff and a putative class. In its October 16, 2024 Order denying

                    24   their Rule 23 class certification motion, the Court found Plaintiff’s explanations for his repeated

                    25   prior admonitions against paying 2022 bonuses to be “convoluted” and likely “untrue” given the

                    26   evidence. ECF 101. Defendant previewed at the October 25, 2024 case management conference

                    27   (“CMC”) that it planned to seek sanctions against Plaintiff and his counsel. October 25, 2024 CMC

                    28   Transcript (“CMC Tr.”), ECF 110 at 2-5. Yet Plaintiff and his counsel still pursued their baseless
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                     1   claims for over three more months, including serving burdensome discovery and deposition notices,

                     2   and filing a motion to compel discovery. Their Motion to Dismiss with Prejudice pursuant to Rule

                     3   41(a)(2) on January 28, 2025 (the “Dismissal Request”) (ECF 115) is “too little, too late,” as

                     4   discussed below and in Defendant’s response to that motion (“Response to Dismissal Request”).

                     5   Sanctions also provide critical deterrence. Plaintiff’s counsel has asserted claims to recover

                     6   bonuses on behalf of many other employees in arbitration, and (unsuccessfully) sought to substitute

                     7   a plaintiff in this Court. His counsel has used Plaintiff’s testimony from prior arbitrations in various

                     8   ongoing arbitrations, and likely will seek to use his tainted deposition testimony or other assistance

                     9   from him in any future bonus claim proceedings, even though he was a key architect of the bonus
                    10   decision being challenged. Defendant thus seeks the following sanctions:

                    11          First, Rule 11 sanctions against Plaintiff and his counsel for filing and litigating Plaintiff’s

                    12   frivolous Rule 23 class certification motion and reply brief, including all attorneys’ fees and costs

                    13   Defendant has incurred in connection with such filings;

                    14          Second, sanctions against Plaintiff’s counsel pursuant to Section 1927 for counsel’s

                    15   unreasonable and vexatious multiplying of this proceeding since receiving the documents that

                    16   Defendant produced on July 12, 2024, including all attorneys’ fees and costs that Defendant has

                    17   incurred since that date and continues to incur going forward;

                    18          Third, sanctions against Plaintiff and his counsel pursuant to the Court’s inherent power, in

                    19   the same amounts as those sought under Section 1927 against Plaintiff’s counsel; and
                    20          Fourth, dismissal of this case with prejudice in addition to awarding monetary sanctions.1

                    21   II.    RELEVANT FACTUAL BACKGROUND

                    22          A.      Plaintiff Repeatedly Advised Defendant Not to Pay the Bonus He Sought Here.

                    23          Plaintiff asserted breach of contract and promissory estoppel claims alleging that Defendant

                    24
                         1
                           The Declaration of Eric Meckley sets forth the estimated attorneys’ fees and costs Defendant
                    25   incurred between July 12, 2024 and February 14, 2025 “because of the misconduct at issue.” See
                         In re Facebook, Inc. Consumer Priv. User Profile Litig., 655 F. Supp. 3d 899, 935 (N.D. Cal.
                    26   2023). As this Court noted, “[t]he essential goal in shifting fees is to do rough justice, not to
                         achieve auditing perfection,” and courts need not “become green-eyeshade accountants”. Id.
                    27   Further support can be provided in camera. Per Rule 11, Defendant served a copy of this Motion
                         and, while not required, the Meckley Declaration, on Plaintiff’s counsel on January 23, 2025,
                    28   more than 21 days before filing this Motion. Meckley Decl. ¶ 10, Ex. 1.
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                     1   promised and then failed to pay discretionary 2022 annual bonuses. ECF 1, 37, 43. He alleges he

                     2   relied on this purported promise and stayed at Twitter through the first quarter of 2023. See id.

                     3   Plaintiff was Twitter’s Senior Director of Compensation, a high-level role that gave him material

                     4   input and insight into the decision-making behind the payment of this bonus. See ECF 87 at 10.

                     5          On July 12, 2024, Defendant produced documents showing that Plaintiff repeatedly advised

                     6   that Twitter should not pay the 2022 bonus and that it was not obligated to pay it, including per the

                     7   terms of the bonus plan that he helped draft. See, e.g., ECF 84-11, 84-17, 84-18 (Pl. Dep. Exs. 13,

                     8   22, 23).2 For example, on October 19, 2022, Plaintiff wrote to another executive that “[t]he [bonus]

                     9   plan does not specifically contemplate a change of control,” and that it was “really unclear to
                    10   [Plaintiff] if the bonus plan would permit paying out.” ECF 84-10 (Pl. Dep. Ex. 12) (X-

                    11   SCHOBINGER_00000082). On November 30, 2022, Plaintiff wrote to Twitter’s Head of People

                    12   Experience that Elon Musk had discretion whether to pay the bonus, and recommended that the

                    13   Company not pay it. ECF 84-11 (Pl. Dep. Ex. 13) (X-SCHOBINGER_00000083) (“The logical

                    14   outcome suggests we would not pay out FY22 bonuses due to the current environment and the

                    15   severe underperformance to plan. So you know, that is what I recommended previously (when we

                    16   were still public)”) (emphasis added).

                    17          Plaintiff emailed a Twitter executive on February 13, 2023, stating that “exercising

                    18   discretion and not paying a bonus would be prudent” and that the “optics of paying are not good”

                    19   given the Company’s precarious financial position. ECF 84-17 (Pl. Dep. Ex. 22) (X-
                    20   SCHOBINGER_00000133) (emphasis added). His email attached his “white paper” to Twitter

                    21   executives explaining that the bonus plan allowed Twitter the absolute discretion not to pay the

                    22   bonus. See ECF 84-18 (Pl. Dep. Ex. 23) (X-SCHOBINGER_00000125-131). At her August 23,

                    23   2024 deposition, Twitter’s former Human Resources manager corroborated that Plaintiff himself

                    24   told Elon Musk in a January 2023 meeting that Twitter should not pay the bonus. ECF 84-6

                    25   (Marcotte Dep. at 90:20-91:12) (“I recall Mark Schobinger saying out loud to the group that we

                    26   should not pay out – that Elon had no obligation to pay out performance bonus plans.”).

                    27   2
                          These documents were marked as exhibits during Plaintiff’s deposition and were submitted as
                         exhibits to the Declaration of Brian D. Berry (ECF 84-2) in support of Defendant’s Opposition to
                    28   Plaintiff’s Motion for Class Certification. See ECF 84.
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                     1           Despite this evidence, Plaintiff and his counsel plowed ahead with this litigation. The

                     2   Company therefore deposed Plaintiff on July 15, 2024 and August 2, 2024, and, on September 5,

                     3   2024, deposed Twitter’s former Chief Financial Officer, Ned Segal, who Plaintiff alleged had made

                     4   the promises to pay bonuses. Neither Plaintiff’s nor Segal’s deposition testimony contradicted the

                     5   foregoing evidence. Rather, Plaintiff and Segal admitted that no one, including Segal, promised

                     6   that bonuses would be paid separate and apart from, or independent of, the full terms and conditions

                     7   of the discretionary bonus plan, thus completely undercutting the merits of Plaintiff’s claims. See

                     8   ECF 84-7 (Pl. Dep. at 99:25-100:23, 103:12-22); ECF 84-3 (Segal Dep. at 128:3-18).

                     9           B.      Plaintiff and His Counsel Seek Class Certification Despite All Such Evidence.
                    10           Turning a blind eye to this evidence, on August 23, 2024, Plaintiff moved to certify a

                    11   nationwide class brazenly challenging “Twitter’s refusal to pay employees their 2022 bonus”. ECF

                    12   75. Defendant filed its Opposition on September 19, 2024, highlighting his repeated admonitions

                    13   not to pay the bonus. ECF 84. Plaintiff replied on September 23, 2024, arguing that his executive

                    14   recommendations somehow were “not relevant” and that, “regardless of what he said, the company

                    15   had promised to pay the bonus, and as an employee he expected it to be paid.” ECF 87.

                    16           At the October 3, 2024 class certification hearing, the Court observed: “Your client claims

                    17   that he was promised a bonus in May-August of ‘22. Your client recommended several times after

                    18   that that the company should not pay the bonus, and now your client is suing claiming that the

                    19   company breached the May-August contract not to give him the bonus.” ECF 98, Hr’g Tr. 6:23-
                    20   7:2 (emphasis added), 6:11-14, 2:23-3:4, 3:10-19. It noted that “the actual evidence is very

                    21   different from what [Plaintiff] alleged in the complaint[,]” and that the evidence “strongly

                    22   indicate[d] that [Plaintiff] has no breach of contract claim; that he is going to lose.” Id. 9:13-14

                    23   (emphasis added), 4:3-16, 21-22 (emphasis added), 3:10-22, 9:10-10:7. The Court challenged

                    24   Plaintiff’s typicality and adequacy to represent the purported class, and highlighted the audacity of

                    25   this lawsuit, asking Plaintiff’s counsel to “take a step back here and just reflect on the fact that [her]

                    26   client has filed a lawsuit claiming that it was a breach of contract not to pay him a bonus that he

                    27   recommended that the company not pay.” Id. 3:23-4:22, 6:8-10 (emphasis added), 7:3-7, 8:25-10:7.

                    28           Plaintiff’s counsel claimed Plaintiff made his repeated incriminating statements because
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                     1   “[h]e was asked, [to] put together different scenarios so that Mr. Musk can make the decision of

                     2   what to do; and he responded to the directive he was given to do that.” Hr’g Tr. 10:17-20. But the

                     3   Court stated that “there is a question of whether [Plaintiff] committed perjury in his deposition,

                     4   frankly,” and that “I think your client might need to read his deposition transcript carefully and

                     5   wonder if he is in legal jeopardy for what he said in that deposition. You know, I seriously wonder

                     6   if, perhaps, you have put him in legal jeopardy.” Id. 11:19-21, 12:21-25 (emphasis added). This

                     7   skepticism was justified.    Plaintiff recommended not paying 2022 bonuses even before the

                     8   acquisition, and months before any purported “directive” (if any) to “put together different

                     9   scenarios” for Musk. See ECF 84-11 (Pl. Dep. Ex. 13) (X-SCHOBINGER_ 00000083) (Plaintiff’s
                    10   Nov. 30, 2022 recommendation that “we would not pay out FY22 bonuses,” which “I recommended

                    11   previously (when we were still public)”) (emphasis added). Asked when she first learned of these

                    12   documents, Plaintiff’s counsel evasively said she could not recall. Hr’g Tr. 13:1-5. The Court

                    13   expressed its view that “99 percent of Plaintiffs’ lawyers […] once they saw these documents […]

                    14   would have immediately either dropped the case or scrambled to find a different Plaintiff” and that

                    15   “the fact that that wasn’t done here speaks volumes.” Id. 18:13-23 (emphasis added).

                    16          On October 16, 2024, the Court issued its Order Denying Motion for Class Certification

                    17   holding that Plaintiff could not prove adequacy or typicality, noting that “interesting facts ha[d]

                    18   been revealed in discovery,” and highlighting its dim view of his claims and ex-post explanations:

                    19       To describe these facts is to show why Schobinger is not an adequate class representative,
                             and why his claims are not typical of the claims of the members of the proposed class. It
                    20       would be impossible for him to get on the witness stand and adequately represent the
                             interests of Twitter employees who claim that the company wrongfully withheld the
                    21       bonus. He might fit nicely into this case as a defendant, but he cannot possibly fit as
                             a named plaintiff.
                    22
                             At his deposition, Schobinger offered a convoluted explanation for how he could possibly
                    23       have believed he was entitled to the bonus while simultaneously advocating that the
                             company not pay it. It seems likely that Schobinger’s explanation is untrue. But even
                    24       if he is telling the truth, that’s beside the point for purposes of this motion. Because even
                             if he is telling the truth, his conduct makes him the worst possible candidate to serve
                    25       as a litigation representative for the other Twitter employees who didn’t get a bonus.
                    26   ECF 101 at 1-2 (emphasis added). The Court also concluded that Texas law “obviously applies”

                    27   to his claims. See ECF 101 at 1-2; ECF 84 at 3 (Defendant’s Opposition to Plaintiff’s class

                    28   certification motion explaining lack of viability of Plaintiff’s contract and promissory estoppel
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                     1   claims under Texas law). The Court’s assessment of the merits, while not binding here, remains

                     2   highly probative given that “certification is proper only if ‘the trial court is satisfied, after a rigorous

                     3   analysis, that the prerequisites of Rule 23(a) have been satisfied’ …. Frequently that ‘rigorous

                     4   analysis’ will entail some overlap with the merits of the plaintiff’s underlying claim. That cannot

                     5   be helped.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011) (citations omitted).

                     6   Besides having no viable contract claims, there is no way Plaintiff could prove his own foreseeable

                     7   and actual substantial detrimental reliance on any of the supposed bonus “promises” allegedly

                     8   made. ECF 84 at 14 & 14 n. 20; see Lotito v. Knife River Corp., 391 S.W.3d 226, 228 (Tex. App.

                     9   2012) (concurrence noting that general promissory estoppel elements include “foreseeability of
                    10   reliance on the promise by the promisor” and “substantial detrimental reliance by the promisee”).

                    11           The Court’s Order also denied Plaintiff’s counsel’s request to substitute a different class

                    12   representative for “a variety of reasons,” principally because: “Most importantly, the fact that

                    13   Schobinger’s lawyer thought it was a good idea to file a motion for class certification in the face of

                    14   this evidence (as opposed to dropping the case or seeking to substitute another plaintiff immediately

                    15   upon discovering it) shows that she is totally unqualified to serve as class counsel.” ECF 101, at 2.

                    16           C.      Plaintiff Insisted on Further Harassing Discovery and Litigation.

                    17           During the parties’ October 25, 2024 CMC, Defendant previewed its planned Motion for

                    18   sanctions against Plaintiff and his counsel. See ECF 107, CMC Tr. at 2-5. The Court responded,

                    19   “I assume you’d be seeking sanctions both against counsel and – monetary sanctions both against
                    20   counsel and the – the Plaintiff himself. Would you also be seeking dismissal of the action as a

                    21   sanction?”, which Defendant’s counsel confirmed. Id. at 4:17-25 (Mr. Meckley: “It would be

                    22   dismissal with prejudice as the – the action, yeah.” The Court: “Yeah. Okay. Yeah. That’s – that

                    23   sounds fine.”). Yet Plaintiff and his counsel still insisted on prosecuting this case and served

                    24   harassing eleventh-hour discovery, seeking ESI as well as 30(b)(6) and fact witness depositions.

                    25           On December 9, 2024, the parties filed a joint discovery letter upon Plaintiff’s request. On

                    26   January 9, 2025, Chief Magistrate Judge Donna M. Ryu noted that the Court had not yet ruled on

                    27   the merits, but that its assessment of the class certification motion “bears on the proportionality of

                    28   the disputed discovery.” ECF 114. Judge Ryu denied Plaintiff’s request for searches of “emails,
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                     1   Slack messages, and other communications by and among Twitter management personnel,” finding

                     2   such discovery “not proportional” and that “Schobinger’s individual claims are weak while the

                     3   scope of [the Request] is broad.” Id. Judge Ryu concluded that the request “ha[d] the feel of a last-

                     4   ditch fishing expedition, the burden of which outweighs the likely benefit.” Id. Importantly, this

                     5   sanctions motion and Plaintiff’s frivolous prosecution of this case were not before Judge Ryu.3

                     6          D.      Plaintiff Belatedly Moved to Dismiss with Prejudice Pursuant to Rule 41(a)(2).

                     7          On January 23, 2025, Defendant sent Plaintiff’s counsel notice pursuant to Rule 11(c)(2) of

                     8   its intention to seek sanctions, including a copy of its Motion. Supra note 1. Five days later,

                     9   Plaintiff and his counsel filed their Dismissal Request to try to dodge sanctions, but failed to explain
                    10   why they still pursued this litigation for more than three months after this Court’s reprimands and

                    11   certification denial in October 2024. They also downplayed the significant burdens and costs on

                    12   Defendant, stating that only “some discovery has occurred” and that “the litigation has not reached

                    13   such an advanced stage as to make voluntary dismissal unreasonable.”4 Dism. Requ. at 3.

                    14   III.   ARGUMENT

                    15          A.      The Court Should Grant Defendant’s Sanctions Motion Pursuant to Rule 11.

                    16          “Rule 11 authorizes a court to impose a sanction on any attorney, law firm, or party that

                    17   brings a claim for an improper purpose or without support in law or evidence.” Sneller v. City of

                    18   Bainbridge Island, 606 F.3d 636, 638–39 (9th Cir. 2010); Rule 11(c)(1). Representations that are

                    19   “legally frivolous” – i.e., “both baseless and made without a reasonable and competent inquiry” –
                    20   or “factually misleading” are sanctionable. Truesdell v. So. Cal. Permanente Med. Grp., 293 F.3d

                    21   1146, 1153 (9th Cir. 2002); Townsend v. Holman Cons. Corp., 929 F.2d 1358, 1362 (9th Cir. 1990).

                    22   “Rule 11 requires attorneys to conduct a reasonable inquiry into the law and facts before signing

                    23   3
                           Defendant’s good faith cooperation in discovery was subject to its position that Plaintiff’s
                         claims are entirely frivolous, and ultimately should not be subject to discovery or proceed.
                    24   4
                           Adding insult to injury, and as detailed further in Defendant’s Response to Dismissal Request,
                         Plaintiff’s counsel tries to mislead the Court again by selectively revealing and misrepresenting in
                    25   the Dismissal Request certain confidential settlement communications that she herself expressly
                         agreed with Defendant’s counsel were privileged pursuant to Federal Rule of Evidence 408. See
                    26   Dismissal Req. at 1:16-20; Declaration of Eric Meckley in Support of Resp. to Dismissal Requ.
                         (“Meckley Dism. Resp. Decl.”) Plaintiff and his counsel stonewalled and still have not offered to
                    27   pay any of the substantial attorneys’ fees that Defendant incurred, or to cease using his tainted
                         testimony in other proceedings. Plaintiff’s counsel’s dissembling and blatant violation of the
                    28   parties’ confidentiality agreement are further examples of their vexatious bad faith conduct.
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                     1   pleadings.” Pickern v. Pier 1 Imports (U.S.), Inc., 339 F. Supp. 2d 1081, 1089 (E.D. Cal. 2004),

                     2   aff’d, 457 F.3d 963 (9th Cir. 2006); Rule 11(b). Insufficient diligence and blind reliance on a

                     3   client’s statements can support sanctions. See Townsend, 929 F.2d at 1362 (“reasonable and

                     4   competent inquiry” required); Hendrix v. Wayne Napthal & First Family Homes, 971 F.2d 398,

                     5   399-400 (9th Cir. 1992) (stating, “blind reliance on a lay client’s ability to decide the legal question

                     6   of domicile does not constitute a reasonable inquiry under Rule 11,” and a “basic interview [by his

                     7   counsel] … should have elicited the facts” contradicting his material assertions); S. Bravo Sys., Inc.

                     8   v. Containment Techs. Corp., 96 F.3d 1372, 1375 (Fed. Cir. 1996) (finding that, if plaintiff’s

                     9   attorneys conducted no investigation other than to rely on plaintiff’s lay opinion, “it would be
                    10   difficult to avoid the conclusion that sanctions are appropriate”); Dangerfield v. Merrill Lynch,

                    11   Pierce, Fenner & Smith, Inc., 2003 WL 22227956 at *12 (S.D.N.Y. Sept. 26, 2003); El-Dada v.

                    12   Oil Mart Corp., 1995 WL 562125, at *1 (N.D. Ill. Sept. 20, 1995) (“Counsel cannot blindly accept

                    13   statements that are implausible without attempting some corroboration.”) (emphasis added).

                    14          Asserting claims that are not “justifiable in law or in fact” also supports Rule 11 sanctions.

                    15   MHC Inv. Co. v. Racom Corp., 323 F.3d 620, 627 (8th Cir. 2003) (“[E]ven those attorneys with the

                    16   highest credentials can violate Rule 11 by pursuing claims and defenses that do not have merit”);

                    17   Kendrick v. Zanides, 609 F. Supp. 1162, 1172 (N.D. Cal. 1985) (alleging facts based on recollection

                    18   “without more, do[es] not satisfy the duty of inquiry, particularly where at the time counsel has in

                    19   hand documents refuting those allegations”). Importantly, a filing that may have been appropriate
                    20   initially can be sanctionable if made after subsequent information has been learned: “[O]nce an

                    21   attorney is on notice that the allegations may not have evidentiary support, it must make some effort

                    22   at a further investigation and cannot persist in asserting allegations that do not have factual support

                    23   in later pleadings.” Insta Ent., Inc. v. Bizzy Ent., Inc., 2010 WL 11597511, at *3 (C.D. Cal. July

                    24   20, 2010) (citing Comm. Notes to Amend’s. to Fed. R. Civ. P. (1993), 146 F.R.D. 401, 585-86).

                    25          Here, Plaintiff’s and his counsel’s class certification briefing advanced misleading claims

                    26   that are contradicted by the evidence and applicable law, including documents proving that Plaintiff

                    27   advised that Twitter should not and need not pay the very bonuses he claims were owed. See, e.g.,

                    28   ECF 75. There was no good faith way Plaintiff or his counsel could believe he could represent the
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                     1   putative class, much less that he had a claim himself. Their efforts to escape his own prior

                     2   statements – e.g., saying that his recommendations were “not relevant” and were made solely at the

                     3   request of leadership – are frivolous. See Hendrix, 971 F.2d at 399–400 (filing was frivolous where

                     4   “‘[a] basic interview with [the client] ... should have elicited the facts’” undermining contention).

                     5   Plaintiff advised Twitter not to pay bonuses even before the October 2022 merger, and many

                     6   months before his February 2023 “white paper.” See supra at 3-4. The Court found Plaintiff had

                     7   “offered a convoluted explanation for how he could possibly have believed he was entitled to the

                     8   bonus while simultaneously advocating that the company not pay it,” which it deemed very likely

                     9   “untrue” and potential “perjury in his deposition,” putting him in “legal jeopardy.” ECF 101, at 2;
                    10   Hr’g Tr. at 11:19-21, 12:21-25. This case is a textbook example of a party and his attorney barreling

                    11   ahead with groundless litigation despite knowing facts that gut their claims, as this Court’s

                    12   statements reflect. See ECF 101, at 2 (“the fact that [Plaintiff’s] lawyer thought it was a good idea

                    13   to file a motion for class certification in the face of this evidence (as opposed to dropping the case

                    14   or seeking to substitute another plaintiff immediately upon discovering it) shows that she is totally

                    15   unqualified to serve as class counsel.”); see also, e.g., Hr’g Tr. at 18:13-23, 2:23-3:4, 3:10-22, 4:3-

                    16   11, 6:8-14, 6:23-7:2, 21-22, 9:13-14, 11:19-21, 12:21-25.

                    17          The Court should impose Rule 11 sanctions and award Defendant the fees and costs it

                    18   incurred having to defend against Plaintiff’s frivolous motion to certify a class. See Gallego v.

                    19   Hunts & Henriques, CLP, 2020 WL 5576134, at *1–2 (N.D. Cal. Sept. 17, 2020) (granting Rule
                    20   11 motion for sanctions against counsel where counsel “made no effort [to] support his allegations

                    21   as the lawsuit progressed” and ordering Rule 11 sanctions in the form of payment to opposing

                    22   counsel of their attorneys’ fees and costs); Kendrick, 609 F. Supp. at 1173 (ordering plaintiff and

                    23   his attorneys “to pay all of the reasonable expenses, including reasonable attorneys’ fees, incurred

                    24   by defendants” as a result of the sanctionable conduct”). Monetary sanctions are important to deter

                    25   future bad faith vexatious conduct by Plaintiff and his counsel, including without limitation because

                    26   Plaintiff’s counsel has filed arbitration demands against Defendant on behalf of several former

                    27   employees asserting claims for a 2022 bonus. Meckley Dism. Resp. Decl. ¶ 4. His counsel has

                    28   used Plaintiff’s testimony from prior arbitrations in various ongoing arbitrations, and likely will
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                     1   seek to use his tainted deposition testimony or other assistance from him in any future bonus claim

                     2   proceedings, even though he was a key architect of the bonus decision being challenged. Id.; Rule

                     3   11(c)(4) (“The sanction may include…if imposed on motion and warranted for effective deterrence,

                     4   an order directing payment to the movant of part or all of the reasonable attorney’s fees and other

                     5   expenses directly resulting from the violation.”) (emphasis added).

                     6          B.      The Court Should Award Sanctions Pursuant to 28 U.S.C. § 1927.

                     7          When an attorney unreasonably or vexatiously multiplies the proceedings via reckless or

                     8   bad faith conduct, courts may require the attorney under Section 1927 to personally satisfy “the

                     9   excess costs, expenses, and attorneys’ fees reasonably incurred because of such conduct.” EscapeX
                    10   IP LLC v. Google LLC, 2024 WL 557729, at *1 (N.D. Cal. Feb. 12, 2024); Sneller, 606 F.3d at

                    11   640; Lahiri v. Univ. Music & Video Dist. Corp., 606 F.3d 1216, 1219 (9th Cir. 2010) (recklessness

                    12   suffices for § 1927 sanctions); Fink v. Gomez, 239 F.3d 989, 993 (9th Cir. 2001) (same). “Bad

                    13   faith is present when an attorney knowingly or recklessly raises a frivolous argument[.]” In re

                    14   Keegan Mgmt. Co., Sec. Litig., 78 F.3d 431, 436 (9th Cir. 1996).

                    15          Here, Plaintiff’s counsel engaged in reckless and bad faith conduct. See Diaz v. Messer,

                    16   742 F. App’x 250, 251 (9th Cir. 2018) (affirming Section 1927 sanctions against counsel that

                    17   advanced arguments in a “slipshod and misleading manner” that were “‘a gross deviation from the

                    18   standard of’ legal arguments one would expect under these circumstances”). Plaintiff’s personal

                    19   and purported class representative claims should have ended at the latest when his documented
                    20   admissions were produced on July 12, 2024. He indisputably knew of his own communications,

                    21   and would have conveyed those facts to his counsel had counsel performed a minimally reasonable

                    22   investigation. See Hendrix, 971 F.2d at 399–400. Instead, Plaintiff’s counsel ignored a mountain

                    23   of “inconvenient” facts and law, causing the Court to “seriously wonder if, perhaps, [his counsel]

                    24   have put him in legal jeopardy” regarding his deposition testimony as to his claims, and to deem

                    25   counsel “totally unqualified to serve as class counsel.” Hr’g Tr. 12:24-25; ECF 101, at 2. His

                    26   counsel compounded these wrongs by insisting on burdensome discovery that Judge Ryu found

                    27   “ha[d] the feel of a last-ditch fishing expedition,” despite this Court’s warning that Plaintiff likely

                    28   would lose on the merits. See Hr’g Tr. 4:14-16; ECF 101; ECF 114 (Judge Ryu denying ESI
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                     1   searches: “Schobinger’s individual claims are weak while the scope of [the Request] is broad.”).

                     2          Plaintiff’s counsel thus should be sanctioned, including an award of Defendant’s attorneys’

                     3   fees and costs incurred since July 12, 2024 for: (1) taking Plaintiff’s and former CFO Ned Segal’s

                     4   depositions; (2) litigating Plaintiff’s Rule 23 motion; (3) addressing and responding to Plaintiff’s

                     5   counsel’s fishing expedition discovery; (4) litigating this Motion; and (5) all other time spent to

                     6   bring this case to a conclusion. Courts have awarded sanctions under Section 1927 in similar

                     7   instances where a party “deliberately kept her meritless case alive for no purpose other than to force

                     8   [defendant] to settle or to defend it.” See Edwards v. Gen. Motors Corp., 153 F.3d 242, 246 (5th

                     9   Cir. 1998); Kendrick, 609 F. Supp. at 1173 (“[T]he maintenance of this action in the face of the
                    10   facts known or available to [plaintiff] both before and after the filing of defendants’ motions

                    11   multiplied the proceedings unreasonably and vexatiously, entitling defendants to recover the

                    12   resulting costs, expenses and attorneys' fees under 28 U.S.C. § 1927”) (emphasis added).

                    13          C.      The Court Should Grant Sanctions Pursuant to the Court’s Inherent Power.

                    14          Courts also have inherent power to impose monetary and other sanctions against a party

                    15   and/or its counsel to control the conduct of the proceedings, protect the “orderly administration of

                    16   justice,” and maintain “the authority and dignity of the court.” Roadway Express, Inc. v. Piper,

                    17   447 U.S. 752, 764-67 (1980) (citations omitted); Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991).

                    18   “While a court should ordinarily rely on 28 U.S.C. § 1927 and the Federal Rules of Civil Procedure

                    19   to impose sanctions, if neither is ‘up to the task, the court may safely rely on its inherent power.’”
                    20   In re Facebook, 655 F. Supp. 3d at 926 (citing Chambers, 501 U.S. at 50); Fink, 239 F.3d at 994

                    21   (“the district court may, in its informed discretion, rely on inherent power rather than the federal

                    22   rules or § 1927.”). Where misconduct could be sanctioned under Rule 11 but is “intertwined within

                    23   conduct that only the inherent power [can] address,” sanctions under the court’s inherent powers

                    24   are appropriate. In re Facebook, 655 F. Supp. 3d at 926 (citing Chambers, 501 U.S. at 51).

                    25          Monetary sanctions under the court’s inherent powers are available “if the court specifically

                    26   finds bad faith or conduct tantamount to bad faith.” Fink, 239 F.3d at 994. “Sanctions are available

                    27   for a variety of types of willful actions, including recklessness when combined with an additional

                    28   factor such as frivolousness, harassment, or an improper purpose.” Id. For example, an “attorney’s
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                     1   reckless misstatements of law and fact, when coupled with an improper purpose, such as an attempt

                     2   to influence or manipulate proceedings in one case in order to gain tactical advantage in another

                     3   case, are sanctionable under a court’s inherent power.” Id.

                     4          Plaintiff’s and his counsel’s continued prosecution of this action checks all of these boxes

                     5   – reckless disregard and misstatements of law and fact, frivolousness, harassment, and improper

                     6   purpose. The Court thus should award Defendant its attorneys’ fees and costs incurred after July

                     7   12, 2024, the latest date when Plaintiff and his counsel should have known that his personal and

                     8   class claims were baseless. Kendrick, 609 F. Supp. at 1173 (“[t]he Court has inherent power to

                     9   award attorneys’ fees to the prevailing party in an action…brought in bad faith, vexatiously,
                    10   wantonly and for oppressive reasons”); Chambers, 501 U.S. at 50–51 (“conduct sanctionable under

                    11   the Rules was intertwined within conduct that only the inherent power could address.”).

                    12          D.      The Court Should Order Dismissal of the Action With Prejudice.

                    13          Irrespective of Plaintiff’s Dismissal Request, and in addition to monetary sanctions, this

                    14   Court has authority to dismiss this case with prejudice as a sanction under Rule 11 or the Court’s

                    15   inherent powers: “‘courts have inherent power to dismiss an action when a party has willfully

                    16   deceived the court and engaged in conduct utterly inconsistent with the orderly administration of

                    17   justice.’” Anheuser-Busch, Inc. v. Nat. Bev. Dist., 69 F.3d 337, 348 (9th Cir. 1995) (citation

                    18   omitted); Combs v. Rockwell Int’l Corp., 927 F.2d 486, 488-89 (9th Cir. 1991). In determining

                    19   whether dismissal is an appropriate sanction, courts consider: “(1) the public’s interest in
                    20   expeditious resolution of litigation; (2) the court’s need to manage its dockets; (3) the risk of

                    21   prejudice to the party seeking sanctions; (4) the public policy favoring disposition of cases on their

                    22   merits; and (5) the availability of less drastic sanctions.” Leon v. IDX Sys. Corp., 464 F.3d 951,

                    23   958 (9th Cir. 2006) (citing Anheuser-Busch, Inc., 69 F.3d at 348).

                    24          Here, Plaintiff and his counsel have engaged in bad faith deceptive practices that have

                    25   undermined the integrity of this judicial proceeding, including Plaintiff’s potentially perjurious

                    26   deposition testimony. See Hr’g Tr. at 11:19-21, 12:21-25. The Ninth Circuit held that “[d]ismissal

                    27   is an appropriate sanction for falsifying a deposition” under Rule 11 or the court’s inherent powers,

                    28   and affirmed the district court’s use of the dismissal sanction after finding that the plaintiff,
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                     1   “whether or not in collusion with counsel,” had “attempted to deceive the district court on material

                     2   matters before it.” Combs, 927 F.2d at 488. The Anheuser-Busch factors also warrant dismissal

                     3   with prejudice pursuant to the Court’s inherent power. Dismissal is more expeditious, including

                     4   for the Court’s docket, than having this case proceed, particularly since Plaintiff is most likely

                     5   “going to lose” including under Texas law (factors (1) and (2)). See Hr’g Tr. 4:14-16; ECF 101 at

                     6   3. Because Plaintiff and his counsel acted in bad faith, prejudice is unnecessary but is evident from

                     7   the additional costs Defendant has faced and will face from other claims in which counsel uses his

                     8   tainted testimony (factor (3)). See, e.g., Nursing Home Pension Fund v. Oracle Corp., 254 F.R.D.

                     9   559, 564–65 (N.D. Cal. 2008) (“a district court need not consider prejudice to the party moving for
                    10   sanctions” when acting pursuant to its inherent power). There are no less drastic non-monetary

                    11   sanctions that will adequately admonish and incentivize Plaintiff and his counsel going forward,

                    12   including due to Plaintiff’s counsel’s other pending and potential future bonus claims likely relying

                    13   on Plaintiff’s corrupted testimony (factors (4) and (5)). See also Leon, 464 F.3d at 960–61 (public

                    14   policy “is not sufficient to outweigh the other four factors”).5

                    15          E.      Plaintiff Cannot Avoid Monetary Sanctions By Seeking A Voluntary Dismissal.

                    16          As detailed in Defendant’s Response to Dismissal Request, both a monetary award of

                    17   Defendant’s requested attorneys’ fees and costs, and dismissal with prejudice, are warranted here.

                    18   See id. at 963 (affirming imposition of both dismissal and monetary sanctions); Adriana Int’l Corp.

                    19   v. Thoeren, 913 F.2d 1406, 1417 (9th Cir. 1990) (affirming entry of default and monetary
                    20   sanctions). Plaintiff’s Dismissal Request under Rule 41(a)(2) is “too little, too late.” As the

                    21   Supreme Court explained in Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395, 398 (1990):

                    22       As noted above, a voluntary dismissal does not eliminate the Rule 11 violation. Baseless
                             filing puts the machinery of justice in motion, burdening courts and individuals alike with
                    23       needless expense and delay. Even if the careless litigant quickly dismisses the action, the
                             harm triggering Rule 11’s concerns has already occurred. Therefore, a litigant who violates
                    24       Rule 11 merits sanctions even after a dismissal. Moreover, the imposition of such sanctions
                             on abusive litigants is useful to deter such misconduct. If a litigant could purge his violation
                    25       of Rule 11 merely by taking a dismissal, he would lose all incentive to “stop, think and
                             investigate more carefully before serving and filing papers.” Amendments to Federal Rules
                    26
                         5
                           When considering the availability of less drastic sanctions, courts analyze: (1) the feasibility of
                    27   less drastic sanctions and why such alternate sanctions would be inappropriate; (2) whether the
                         court implemented alternative sanctions before ordering dismissal; and (3) whether the court
                    28   warned the party of the possibility of dismissal before ordering dismissal. Leon, 464 F.3d at 960.
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                     1       of Civil Procedure, 97 F.R.D. 165, 192 (1983) (Letter from Judge Walter Mansfield,
                             Chairman, Advisory Committee on Civil Rules) (Mar. 9, 1982).
                     2
                         See Orian v. Fed’n Int’l des Droits de L’Homme, 2011 WL 13220921, at *3 (C.D. Cal. Dec. 13,
                     3
                         2011) (“[A] court may retain jurisdiction to consider collateral issues such as statutory sanctions
                     4
                         and attorney fees.”). The same is true under Section 1927 and the Court’s inherent power. See
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                         Leon, 464 F.3d at 958-61 (affirming dismissal with prejudice and monetary sanctions pursuant to
                     6
                         the court’s “inherent authority”).6 Nothing warrants a different result for dismissal with prejudice.
                     7
                                This Court implicitly acknowledged these principles at the October 25, 2024 CMC. ECF
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                         107, CMC Tr. at 4:17-25 (Court: “I assume you’d be seeking … monetary sanctions both against
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                         counsel and the – the Plaintiff himself. Would you also be seeking dismissal of the action as a
                    10
                         sanction?” Mr. Meckley: “It would be dismissal with prejudice as the – the action, yeah.” Court:
                    11
                         “Yeah. Okay. Yeah. That’s – that sounds fine.”). Other courts recognize that voluntary dismissal
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                         with prejudice does not impact a court’s ability to award sanctions. For example, in Smith v.
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                         Lenches, 263 F.3d 972, 975 (9th Cir. 2001), the Ninth Circuit affirmed the district court’s Rule
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                         41(a)(2) dismissal with prejudice. While it also affirmed the denial of defendant’s sanctions motion
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                         based on the facts of the case, it never questioned the district court’s authority to consider or award
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                         sanctions despite the plaintiff’s Rule 41(a)(2) voluntary dismissal with prejudice. Rather, the Ninth
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                         Circuit emphasized that “the district court has ‘broad fact-finding powers’ to grant or decline
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                         sanctions and that its findings warrant ‘great deference[.]’” Id. at 975, 978; see also, e.g., Ke v. J
                    19
                         6
                           See also Thomas v. Early Cty., GA, 360 F. App’x 71, 75 (11th Cir. 2010) (“For the same
                    20   reasons [as in Cooter], motions seeking attorney’s fees and costs pursuant to statute or the court’s
                         inherent powers may be considered by the district court after dismissal”); Song v. Drenberg, 2021
                    21   WL 4846779, at *2 (N.D. Cal. Oct. 18, 2021) (“[Plaintiff] suggests that this Court lacks
                         jurisdiction to decide a motion for sanctions [under § 1927] because plaintiffs voluntarily
                    22   dismissed the underlying claims before the motion was filed. […] He is not correct. […] ‘In our
                         view, nothing in the language of Rule 41(a)(1)(i), Rule 11, or other statute or Federal Rule
                    23   terminates a district court’s authority to impose sanctions after such a dismissal.’”) (citing and
                         quoting Cooter); Strike 3 Holdings, LLC v. Doe, 2019 WL 935389, at *3 (E.D. Cal. Feb. 26,
                    24   2019) (stating, in discussing court’s inherent authority, “‘[A] voluntary dismissal does not
                         expunge the ... [underlying] violation’ or bad faith conduct [… or] remove the court’s inherent
                    25   authority to impose sanctions.”); Cooter, 496 U.S. at 412 (Stevens, J., concurring and dissenting
                         in part) (a court “may impose sanctions for contempt on a party who has voluntarily dismissed his
                    26   complaint or impose sanctions under 28 U.S.C. § 1927 against lawyers who have multiplied court
                         proceedings vexatiously”); cf. Mireskandari v. Assoc. News., Ltd., 665 F. App’x 570, 572 (9th
                    27   Cir. 2016) (stating in the context of Rule 16(f) sanctions: “We see no justification for holding that
                         a voluntary dismissal precludes issuance of a sanctions order. […] The district court had authority
                    28   to sanction [plaintiff] for his actions prior to the voluntary dismissal.”).
MORGAN, LEWIS &
                                                                                       DEFENDANT’S MOTION FOR SANCTIONS
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                     1   R Sushi 2 Inc., 2022 WL 1496576, at *14 (S.D.N.Y. Feb. 7, 2022), rep’t and rec. adopted, 2022

                     2   WL 912231 (S.D.N.Y. Mar. 28, 2022) (“[A]fter a voluntary dismissal pursuant to Rule 41(a)(1)(A)

                     3   – with or without prejudice – the Court retains discretion whether to impose sanctions under its

                     4   inherent power or § 1927.”); cf. Chavez v. Wal-Mart Stores Inc., 2014 WL 12591672 at *3 (C.D.

                     5   Cal. Nov. 14, 2014) (stating, “We think dismissal with prejudice is at least a factor to be considered

                     6   in deciding whether to condition dismissal on the payment of fees and costs,” but not ruling that

                     7   fees and costs are per se unavailable upon dismissal); Leon, 464 F.3d at 958-61 (affirming sanctions

                     8   pursuant to the court’s “inherent authority” of both dismissal with prejudice and monetary award).

                     9          Monetary sanctions are necessary to compensate Defendant for the attorneys’ fees and costs
                    10   that have resulted from Plaintiff’s and his counsel’s reckless and bad faith conduct in this action,

                    11   and to deter further similar conduct including Plaintiff’s counsel’s prosecution of other 2022 bonus

                    12   claims that Plaintiff himself caused, likely using his tainted testimony and/or assistance.

                    13   IV.    CONCLUSION

                    14          The Court should grant Defendant’s Motion for Sanctions and: (1) pursuant to Rule 11,

                    15   award Defendant all attorneys’ fees and costs it has incurred due to Plaintiff’s frivolous Rule 23

                    16   motion for class certification, currently estimated at approximately $241,731; (2) pursuant to

                    17   Section 1927 and/or the Court’s Inherent Authority, award Defendant all attorneys’ fees and costs

                    18   it has incurred since July 12, 2024, currently estimated at approximately $710,527.50 through

                    19   February 14, 2025 (which includes $286,159.50 in legally required payments to Sidley Austin LLP
                    20   due to that firm’s representation of former Twitter CFO Ned Segal in connection with this case);

                    21   (3) award Defendant all further attorneys’ fees and costs it incurs after the date of this Motion

                    22   through the final termination of this case; and (4) dismiss this action in its entirety with prejudice.

                    23   Dated: March 14, 2025                      MORGAN, LEWIS & BOCKIUS LLP
                    24
                                                                    By    /s/ Eric Meckley
                    25                                                   Eric Meckley
                                                                         Brian D. Berry
                    26                                                   Jonathan D. Lotsoff
                                                                         Ashlee N. Cherry
                    27                                                   Attorneys for Defendant X CORP.

                    28
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